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     UNITED STATES BANKRUPTCY COURT
     DISTRICT OF NEW JERSEY

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     (Admitted pro hac vice)

     ATTORNEYS FOR DEBTOR

     In re:                                                      Chapter 11

     LTL MANAGEMENT LLC, 1                                       Case No.: 21-30589 (MBK)

                                Debtor.                          Judge: Michael B. Kaplan

     LTL MANAGEMENT LLC,
                                Plaintiff,
     v.
                                                                 Adv. No. 22-1393 (MBK)
     JACQUELINE MIRIAM MOLINE,
                                Defendant.




 1
              The last four digits of the Debtor’s taxpayer identification number are 6622. The Debtor’s address is
              501 George Street, New Brunswick, New Jersey 08933.



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     LTL MANAGEMENT LLC,
                          Plaintiff,
     v.
                                                       Adv. No. 23-1022 (MBK)
     DR. THERESA SWAIN EMORY, DR. RICHARD
     LAWRENCE KRADIN, AND DR. JOHN
     COULTER MADDOX,
                          Defendants.

                 NOTICE OF AMENDED 2 AGENDA OF MATTERS
           SCHEDULED FOR HEARING ON FEBRUARY 14, 2023 AT 10:00 A.M.

                       Parties are directed to https://www.njb.uscourts.gov/LTL
                     for appearing via Zoom or in-person, or observing via Zoom
 STATUS CONFERENCE IN THE BASE CASE

          Pursuant to the Court’s January 31, 2023 order, a status conference is going
          forward.

 CONTESTED MATTERS NOT GOING FORWARD IN THE BASE CASE

 1.       Motion of the Official Committee of Talc Claimants for Order Confirming Procedures for
          the Reimbursement of Expenses Incurred by Committee Member Representatives
          [Dkt. 3111] (the “Reimbursement Motion”).

          Status: The Official Committee of Talc Claimants will withdraw the
          Reimbursement Motion. The Debtor and the Official Committee of Talc Claimants
          have filed a joint application for entry of an agreed order. This matter is not going
          forward.

 2.       The Official Committee of Tort Claimants’ Motion to Compel [Dkt. 3336] (the “Motion
          to Compel”).

          Status: This matter was previously heard at the December 20, 2022 hearing. As a
          result of continuing discussions between the Official Committee of Tort Claimants
          and the Debtor, the insurance discovery requests in the Motion to Compel have been
          largely resolved. The remainder of the Motion to Compel has been adjourned to
          March 20, 2023.

 3.       Debtor’s Motion for an Order Directing Plaintiff Law Firms to Disclose Third-Party
          Funding Arrangements [Dkt. 3551].

          Status: This matter has been adjourned to March 20, 2023.



 2
          Amended agenda items appear in bold.


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 MATTER NOT GOING FORWARD IN THE MOLINE ADVERSARY

 4.      Plaintiff’s Motion for Limited Expedited Discovery [Adv. Dkt. 9].

         Status: This matter has been adjourned to March 20, 2023.

 STATUS CONFERENCE IN THE EMORY ADVERSARY

 5.      Correspondence from Counsel to the Defendants to the Court, dated
         February 13, 2023 Requesting Status Conference [Dkt. 3739].

         Status: A status conference on this matter has been requested.

 CONTESTED MATTER GOING FORWARD

 6.      Memorandum of Law in Support of Supplemental Filing by Movant Anthony Hernandez
         Valadez in Support of His Motion for an Order Granting Relief From the Automatic Stay
         and Preliminary Injunction, Filed on May 24, 2022, and Status Report [Dkt. 3698]
         (the “Valadez Stay Motion”).

         Status: This matter is going forward.

         Objection Deadline: At hearing, pursuant to the Order Granting Application to Shorten
         Time.

         Related Documents:

         A.       Motion by Movant Anthony Hernandez Valadez for an Order Granting Relief
                  From the Preliminary Injunction to Allow Him to File His Asbestos Personal-
                  Injury Action in California State Court, or, in the Alternative, (II) Conduct
                  Discovery, and (III) Waiving the Fourteen Day Stay Under Federal Rule of
                  Bankruptcy Procedure 4001(a)(3) [Dkt. 2348].

         B.       Maune Raichle Hartley French & Mudd LLC’s Joinder in Support of Motions by
                  Anthony Hernandez Valdez and Audra Johnson for an Order Granting Relief
                  from the Preliminary Injunction [Dkts. 2466, 2484].

         C.       Movant’s Reply to Debtor’s Objection to His Motion for an Order Granting Relief
                  from the Preliminary Injunction or, in the Alternative, Conduct Discovery, and
                  Waiving the Fourteen Day Stay Under Federal Rule of Bankruptcy
                  Procedure 4001(a)(3) [Dkt. 2469].

         D.       Order Granting Limited Relief from the Automatic Stay [Dkt. 2836].

         E.       Letter to Court from Counsel to Movant Anthony Hernandez Valadez
                  [Dkt. 2979].

         F.       Claimant Anthony Hernandez Valadez’s Status Update [Dkt. 3489].


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         G.       Application to Shorten Time [Dkt. 3699].

         H.       Order Granting Application to Shorten Time [Dkt. 3703].

         I.       Claimant Anthony Hernandez Valadez’s Further Status Update and Reply to
                  the Debtor’s Objection to the Valadez Stay Motion [Dkt. 3741].

         Objections Received:

         J.       Debtor’s Omnibus Objection to Anthony Hernandez Valadez’s and Audra
                  Johnson’s Motions Seeking Relief from the Preliminary Injunction and Certain
                  Related Relief [Dkt. 2429]

         K.       Debtor’s Objection to Valadez Stay Motion [Dkt. 3740].

  Dated: February 13, 2023                         WOLLMUTH MAHER & DEUTSCH LLP

                                                   /s/ Paul R. DeFilippo
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